        CASE 0:12-cv-00869-MJD-LIB Doc. 31 Filed 12/12/12 Page 1 of 6




                          UNITED STATES DISTRICT COURT

                             DISTRICT OF MINNESOTA


Gary Reed and Tom Vevea, as Trustees             Case No: 12-CV-869 (MJD/LIB)
of the Minnesota Laborers Health and
Welfare Fund and Minnesota Laborers
Pension Fund; James Brady and Keith
Kramer, as Trustees of the Minnesota
Laborers Vacation Fund; Gary Reed, as
Trustee of the Construction Laborers’
Education, Training, and Apprenticeship
Fund of Minnesota and North Dakota;
and Dan Olson and Chris Born, as
Trustees of the Minnesota Laborers               PLAINTIFFS’ MEMORANDUM
Employers Cooperation and Education                 OF LAW IN SUPPORT OF
Trust; and each of their successors,                 THEIR MOTION FOR AN
                                                   ORDER TO SHOW CAUSE
            Plaintiffs,

vs.

A & A Stanley Construction, Inc.,

            Defendant.


                                    SYNOPSIS

      The Defendant, A & A Stanley Construction, Inc. (“A & A Stanley”)

continues to refuse to produce responses to Plaintiffs’ Interrogatories and

Requests for the Production of Documents in Aid of Execution despite this

Court’s Order to do so. Accordingly, the Plaintiffs seek an Order requiring Aaron

Stanley (“Stanley”), A & A Stanley’s owner, to appear in person to show cause, if

any, as to why an Order should not be entered adjudging A & A Stanley and

Stanley guilty of failing and refusing to obey the Order issued by the Court, and
                                       1
        CASE 0:12-cv-00869-MJD-LIB Doc. 31 Filed 12/12/12 Page 2 of 6




further, why Stanley should not be committed to confinement until compliance

with said Order.

                                STATEMENT OF FACTS

      On October 31, 2012, this Court issued an Order Compelling Post-

Judgment Discovery Responses (“Order”) which provided in relevant part:

      Defendant is hereby ORDERED to produce documents responsive
      to Plaintiffs’ request within fifteen (15) days of the date of service of
      this Order.

Affidavit of Christy E. Lawrie (“Lawrie Aff.”) at ¶ 2, (Court Docket No. 28). A & A

Stanley, by and through its owner and authorized agent Stanley, was personally

served with the Order on November 14, 2012. Id. at ¶ 3, (Court Docket No. 29).

More than fifteen days have passed since A & A Stanley was served with the

Order, and to date A & A Stanley has failed to provide responses to the Plaintiffs’

Interrogatories and Requests for the Production of Documents in Aid of

Execution. Id. at ¶ 4. Moreover, at no time has A & A Stanley alleged an inability

to comply with the Order. Id. at ¶ 5.

      Stanley represents himself as the owner of A & A Stanley. Id. at ¶ 6,

Affidavit of Service (Court Docket Nos. 26, 29).           As such, the Plaintiffs

reasonably believe that Stanley has custody and control over the information and

documents specified in the Order. Id. at ¶ 7. Accordingly, the Plaintiffs seek to

have the requested Order to Show Cause directed at Stanley.




                                         2
        CASE 0:12-cv-00869-MJD-LIB Doc. 31 Filed 12/12/12 Page 3 of 6




                                   ANALYSIS

I.    CIVIL CONTEMPT SANCTIONS IN THE FORM OF STANLEY’S
      INCARCERATION IS THE APPROPRIATE REMEDY FOR A & A
      STANLEY’S AND STANLEY’S NON-COMPLIANCE WITH   THE
      COURT’S ORDER.

      The United States Supreme Court has stated, “it is firmly established that

the power to punish for contempt is inherent in all courts.” Chambers v. NASCO,

Inc., 501 U.S. 32, 44, 111 S. Ct. 2123 (1991) (internal punctuation and citation

omitted). “One of the overarching goals of a court's contempt power is to ensure

that litigants do not anoint themselves with the power to adjudge the validity of

orders to which they are subject.” Chicago Truck Drivers v. Bhd. Labor Leasing,

207 F.3d 500, 504 (8th Cir. 2000) (citing United States v. United Mine Workers,

330 U.S. 258, 290 n. 56 (1947)). Civil contempt sanctions may be employed to

coerce compliance with a court order. Id. (citing United Mine Workers, 330 U.S.

at 303-04).   “Either incarceration or a fine may accomplish the purpose of

coercion....” Id. Civil contempt proceedings may be employed in an ERISA case

such as this one to coerce the defendant into compliance with a court order or to

compensate the complainant for losses sustained, or both. Chicago Truck

Drivers, 207 F.3d at 504-05. Either incarceration or a fine may accomplish the

purpose of coercion. Id.

      A party seeking civil contempt bears the initial burden of proving, by clear

and convincing evidence, that the contemnors violated a court order. Indep.

Fed'n of Flight Attendants v. Cooper, 134 F.3d 917, 920 (8th Cir. 1998). At that


                                        3
           CASE 0:12-cv-00869-MJD-LIB Doc. 31 Filed 12/12/12 Page 4 of 6




point, the burden shifts to the contemnors to show an inability to comply. United

States v. Rylander, 460 U.S. 752, 757, 103 S. Ct. 1548 (1983). The contemnors

must do more than assert a present inability to comply to avoid a civil contempt

finding.     Chicago Truck Drivers, 207 F.3d at 506.         Rather, the alleged

contemnors defending on the ground of inability must establish: (1) that they

were unable to comply, explaining why categorically and in detail, (2) that their

inability to comply was not self-induced, and (3) that they made in good faith all

reasonable efforts to comply. Id.

      In this case, the Trustees have submitted sworn testimony that A & A

Stanley was properly served with the Order, that A & A Stanley has never alleged

an inability to comply with the Order, and that A & A Stanley has failed to provide

answers to Plaintiffs’ Interrogatories in Aid of Execution and produce documents

responsive to Plaintiffs’ Request for the Production of Documents in Aid of

Execution. Lawrie Aff. at ¶¶ 2-5. A & A Stanley’s and Stanley’s failure to comply

with this Court’s Order has adversely affected the Trustees’ ability to collect on

their judgment. Id. at ¶ 8. Further, given that A & A Stanley has not submitted

any voluntary payments on the judgment, the assessment of a civil fine is unlikely

to coerce A & A Stanley to comply with the Order. Id. at ¶ 9. Accordingly,

incarceration is the more appropriate sanction for A & A Stanley’s and Stanley’s

civil contempt.




                                        4
        CASE 0:12-cv-00869-MJD-LIB Doc. 31 Filed 12/12/12 Page 5 of 6




II.   THE CIVIL CONTEMPT SANCTION SHOULD BE DIRECTED AT
      STANLEY.

      The Trustees seek to have the civil contempt sanction of incarceration

directed at Stanley. It is well-settled that a court’s contempt power extends to

non-parties who have notice of the court’s order and the responsibility to comply

with it. See Bessette v. W.B. Conkey Co., 194 U.S. 324, 325, 24 S. Ct. 665

(1904) (a person, “not a party to the suit, [may be] guilty of contempt for violation

of an order of that court, made in such suit, and imposing a fine for such

contempt.”); Wilson v. United States, 221 U.S. 361, 376 (1911)(a command to

the corporation is in effect a command to those who are officially responsible for

the conduct of its affairs and if these persons prevent compliance or fail to take

appropriate action within their power for the performance of the corporate duty,

they, no less than the corporation itself, are guilty of disobedience, and may be

punished for contempt); Chicago Truck Drivers, 207 F.3d at 507 (court's payment

orders in ERISA case were binding upon the named corporate defendant's sole

shareholder and corporate officer and agent, even though the order made no

specific reference to him); Electrical Workers Pension Trust Fund v. Gary's

Electric Serv. Co., 340 F.3d 373 (6th Cir. 2003) (owner of corporation, as an

officer of the corporation responsible for its affairs, was subject to the court's

contempt order just as the corporation itself was even though he was not a

named defendant).




                                         5
              CASE 0:12-cv-00869-MJD-LIB Doc. 31 Filed 12/12/12 Page 6 of 6




        Here, Stanley represents himself as the owner of A & A Stanley. Affidavit

of Service (Court Docket Nos. 26, 29). As a result, Stanley is an individual who

has the responsibility to ensure A & A Stanley’s compliance with this Court’s

Order.        Accordingly, the civil contempt sanction of incarceration should be

directed at Stanley.

                                     CONCLUSION

        Based on the foregoing, the Fund respectfully requests its Motion for an

Order to Show Cause be granted in its entirety.



Dated: December 12, 2012            McGRANN SHEA CARNIVAL STRAUGHN
                                    & LAMB, CHARTERED

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